                 Case 1-18-42228-cec              Doc 32        Filed 10/03/18          Entered 10/04/18 00:20:57

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 18-42228-cec
FMTB BH LLC                                                                                                Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: mmendieta                    Page 1 of 1                          Date Rcvd: Oct 01, 2018
                                      Form ID: 295                       Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 03, 2018.
db             +FMTB BH LLC,   1335 50 Street,   Suite 2G,   Brooklyn, NY 11219-6504
aty            +Robinson Brog Leinwand Greene Genovese & Gluck P.C,   875 Third Avenue,
                 New York, NY 10022-6225

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 03, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 28, 2018 at the address(es) listed below:
              Brian J. Markowitz    on behalf of Defendant    1988 MORRIS AVENUE LLC bmarkowitz@goldsteinhall.com
              Brian J. Markowitz    on behalf of Creditor    1143 FOREST AVENUE LLC bmarkowitz@goldsteinhall.com
              Brian J. Markowitz    on behalf of Creditor    700 BECK STREET LLC bmarkowitz@goldsteinhall.com
              Brian J. Markowitz    on behalf of Defendant    1974 MORRIS AVENUE LLC bmarkowitz@goldsteinhall.com
              Brian J. Markowitz    on behalf of Creditor    1821 TOPPING AVENUE LLC bmarkowitz@goldsteinhall.com
              Brian J. Markowitz    on behalf of Defendant    1821 TOPPING AVENUE LLC bmarkowitz@goldsteinhall.com
              Brian J. Markowitz    on behalf of Creditor    1974 MORRIS AVENUE LLC bmarkowitz@goldsteinhall.com
              Brian J. Markowitz    on behalf of Defendant    1143 FOREST AVENUE LLC bmarkowitz@goldsteinhall.com
              Brian J. Markowitz    on behalf of Defendant    700 BECK STREET LLC bmarkowitz@goldsteinhall.com
              Brian J. Markowitz    on behalf of Creditor    1988 MORRIS AVENUE LLC bmarkowitz@goldsteinhall.com
              Daniel Robert Goldenberg    on behalf of Counter-Claimant    1974 MORRIS AVENUE LLC
               dgoldenberg@goldsteinhall.com
              Daniel Robert Goldenberg    on behalf of Counter-Claimant    700 BECK STREET LLC
               dgoldenberg@goldsteinhall.com
              Daniel Robert Goldenberg    on behalf of Counter-Claimant    1143 FOREST AVENUE LLC
               dgoldenberg@goldsteinhall.com
              Daniel Robert Goldenberg    on behalf of Counter-Claimant    1821 TOPPING AVENUE LLC
               dgoldenberg@goldsteinhall.com
              Daniel Robert Goldenberg    on behalf of Counter-Claimant    1988 MORRIS AVENUE LLC
               dgoldenberg@goldsteinhall.com
              Fred B. Ringel    on behalf of Plaintiff    FMTB BH LLC fbr@robinsonbrog.com,
               cy@robinsonbrog.com;nfm@robinsonbrog.com
              Fred B. Ringel    on behalf of Debtor    FMTB BH LLC fbr@robinsonbrog.com,
               cy@robinsonbrog.com;nfm@robinsonbrog.com
              Lawrence S. Hirsh    on behalf of Plaintiff    FMTB BH LLC lhirsh@robinsonbrog.com,
               paralegals@robinsonbrog.com
              Office of the United States Trustee    USTPRegion02.BR.ECF@usdoj.gov
                                                                                               TOTAL: 19
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 Information to identify the case:
 Debtor
                    FMTB BH LLC                                                                     EIN 82−5042433
                    Name


 United States Bankruptcy Court Eastern District of New York
                                                                                                    Date case filed for chapter 11 4/23/18
 Case number: 1−18−42228−cec




          NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO
                          RESTRICTION AND REDACTION

NOTICE IS HEREBY GIVEN THAT:
A transcript of the proceeding held on 9/12/18 was filed on 9/28/18.
The following deadlines apply:
The parties have until October 5, 2018 to file with the court a Notice of Intent to Request Redaction of this transcript.
The deadline for filing a Transcript Redaction Request is October 19, 2018.

If a Transcript Redaction Request is filed, the redacted transcript is due October 29, 2018.

If no such Notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is December 27, 2018, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber TypeWrite at
518−581−8973 or you may view the document at the public terminal at the Office of the Clerk.


 Dated: October 1, 2018


                                                                                        For the Court, Robert A. Gavin, Jr., Clerk of Court


BLnftrans2.jsp [Notice of Filing Transcript and Deadlines to Restriction and Redaction rev. 02/01/17]
